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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION


MICHAEL MEADOWS,



                                                              CASE NO.:



NATIONAL ENTERPRISE SYSTEMS, INC.,




                       COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, MICHAEL MEADOWS, sues the Defendant, NATIONAL ENTERPRISE

SYSTEMS, INC., and allege as follows:

                                   JURISDICTION AND VENUE

                Jurisdiction   of this Court arises under 28 U.S.C. g 1331 as this case presents a

federal question, and pursuant    to 15 U.S.C. g 1692k(d) and/or pursuant       to 28 U.S.C. g 1367 for

pendant state law claims.

                Plaintiff brings this action to recover statutorily     prescribed damages for acts on

the part of Defendant in violation    of the Telephone Consumer Protection Act of 1991, 47 U.S.C.

g   227, et seq., (hereafter "TCPA"), the Fair Debt Collection Practices Act, 15 U.S.C. ( 1692, et

seq. (hereafter "FDCPA"), and the Florida Consumer Collection Practices Act, sections 559.55,

et seq., Florida Statutes (hereafter "FCCPA").

                The alleged     violations   described   herein   occurred   in Duval   County,   Florida.

Accordingly,   venue is appropriate     with this Court under 28       U.S.C. $ 1391(b)(2),   as it is the
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                                                          PARTIES



Duval County, Florida.

                   Plaintiff is a debtor and/or            alleged     debtor as that term is defined           by section

559.55(2), Florida Statutes.

                  Plaintiff is a "consumer" as that term is defined by 15 U.S.C. $ 1692a(3).

                  Plaintiff is the "called party" with respect to the calls placed to his cellular

telephone      number,      (904) 713-7262, as further               described   hei eiil. See So@per      V.   Enhanced

Recovery Co., I.I.C, 679 F.3d 637, 643 (7th Cir. 2012).

                  At all times material he:reto, Defendant was and is a forejgn corporation, with its

principal place    of business    in Solon, Ohio.

                                          FACTUAL ALLEGATIONS

                  At all times material hereto, Defendant                 did transact business      in Duval County,

Florida, as a "debt collector" as that term is defined by 15 U.S.C. $ 1692a(6) and/or section

559.55(6), Florida Statutes. Defendant sought to collect                    an alleged debt from the Plaintiff that

arose from a transaction         allegedly     incurred    for personal, family or household           purposes     and is

therefore a "consumer debt."

         10.      As     described    herein,      Defendant         employed    business      practices   resulting    in

intentional    harassment     and abuse      of the Plaintiff and engaged        in patterns   of outrageous, abusive

and harassing     conduct by and through           its agents and representatives           in an effort to collect an

alleged debt from Plaintiff.
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         11.       Defendant      has engaged       in conduct in violation           of the TCPA, FDCPA              and the

FCCPA, and constituting           intentional     harassment        and abuse      of the Plaintiff, by and through its

agents and representatives,         on numerous      occasions within the two (2) year period preceding the

filing of this action.

         12.       As described herein, Defendant implemented                      its unlawful     collection conduct by

initiating calls to Plaintiff's aforementioned            cellular telephone number several times per day, and

on back to back days, with such frequency as can reasonably be expected to harass, in an effort

to collect the above described alleged debt.

         13.       Plaintiff    is the subscriber,        regular     user and carrier        of   the cellular   telephone

number    at issue,    (904) 713-7262, and was the called party and recipient of Defendant's above

described calls.

         14.       Within the two (2) year period preceding                     the filing    of this action„Defendant

intentionally     harassed     and abused the Plaintiff and his family,                on numerous        occasions by its

agents and representatives          calling Plaintiff's     aforementioned          cellular telephone      number    several

times during one day, up to five (5) times a day, and on back to back days, with such frequency

as can reasonabIy be expected to harass.

         15.       In or about August            of 2013, Defendant           initiated      its campaign     of telephone

collection calls to the Plaintiff on his aforementioned                cellular telephone number.

         16.       In or about        August       of 2013, Plaintiff           received      a telephone      call   to   his

aforementioned        cellular telephone        number    from Defendant           seeking to recover a debt from an

individual      unknown   to him.

         17.       In or about August           of 2013, upon receiving the first call from the Defendant,

Plaintiff answered the call, received Defendant's                   pre-recorded     message, followed the prompt to

be connected to a live representative            and informed a male agent/representative                of Defendant that
                                                               3
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they had the wrong number, and that he did not know the individual                   for whom they were calling.

The agent/representative         of Defendant was rude to Plaintiff, accused the Plaintiff of deceit,and

did not agree to remove Plaintiff's number from their system.

        18.      Shortly thereafter,       upon receiving the second call from the Defendant,               Plaintiff

»swered the call, and informed a different, fernale agent/representative                  of Defendant that      they

had the wrong number,          and that he did not know the individual             for whom they were callulg.

Again the agent/representative            of Defendant was rude to the Plaintiff, and did not agree to

remove Plaintiff" s number from their system.

         19.     On numerous           occasions, Plaintiff attempted     to answer a call from Defendant          to

speak with an agent/representative,           only to experience the call disconnected upon answering.

        20.      From approximately             August     of 2013 through     the date    of the filing of this

Complaint,     Defendant has called Plaintiff's aforementioned             cellular telephone      on a daily basis,

despite being informed that they had the wrong number.

        21.      On numerous            occasi()ns,   Plaintiff   has   answered     Defendant's     call, received

Defendant" s pre-recorded message, followed the prompt to be connected to a live representative,

informed Defendant       that they had the wrong number,            that he was not the individual        for whom

they were calling, that he did not know the individual             for whom they were calling, and demanded

that Defendant stop calling him.

        22.       Each of Plaintiff's         conversations   with the Defendant       demanding     an end to the

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         23.      Despite     actual     knowledge       of it's wrongdoing,       the Defend»t      continued    thc

campaign of abuse.

         24.      Defendant       attempted     to coHect a debt from the Plaintiff by this campaign               of

telephone calls.
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        25.        By continuing       to call the Plaintiff despite being informed         he did not know the

individual     for whom Defendant was calling, Plaintiff was led to believe the Defendant thought

he was lying and the only way to stop the harassing calls was to pay the alleged debt.

                   To date, Defendant            has placed    approximately    three    hundred     (300) calls to

Plaintiff's aforementioned          cellular telephone   number     in an effort to collect the alleged debt at

issue, and the calls continue through the date of filing of this Complaint or such time as will be

established     after a thorough      review     of Defendants'ecords.      (Please see attached Exhibit        "A"

representing     a non-exclusive      sampling    of said calls from August 19, 2013 to February 3, 2014).

         27.       The telephone       calls at issue were placed by Defendant             using    an "automated

telephone      dialing   system" as specified by the TCPA, 47 U.S.C.               (    227(a)(1), which has the

capacity to store or produce telephone               numbers    to be called, using a random          or sequential

number generator; and to dial such numbers (hereafter "ATDS" or "autodialer").

         28.       Furthermore,      each of the calls at issue were placed by the Defendant                using a

"prerecorded voice," as specified by the TCPA, 47 U.S.C. g 227(b){1)(A).

         29.        Defendant initiated each of the calls at issue to Plaintiff's aforementioned            cellular

telephone number without the "prior express consent"                of Plaintiff, as specified     by the TCPA, 47

U.S.C. g 227(b)(1)(A).

         30.        Additionally,     none of the telephone       calls at issue were placed by Defendant          to

Plaintiff" s aforementioned         cellular telephone   number    for "emergency purposes" as specified by

the TCPA, 47       U.S.C. $ 227 (b)(1)(A).

         31.        Defendant willfully and/or knowingly          violated the TCPA with respect to Plaintiff.

         32.        Defendant has a corporate policy of using an automatic telephone dialing system

or a pre-recorded         or artificial    voice message,       just as it did when       calling    the Plaintiff's


aforementioned       cellular telephone number, as described herein.
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          34.       Defendant s corporate policy is structured               to continue to call individuals     like the

Plaintiff, despite these individuals              explaining   to the Defendant         that they are calling the wrong

nu    her.

          35.       Defendant's         corporate policy provided           no means      for the Plaintiff to have his

aforementioned           cellular telephone number removed from the call list.

          36.       Defendant has a corporate policy to harass and abuse individual                    like the Plaintiff

despite actual knowledge             that the caHed parties did not provide prior express consent to receive

the calls.

          37.        Defendant followed its corporate policies when attempting                    to communicate    with

the Plaintiff in connection with the alleged debt at issue.

          38.        Defendant       has been the recipient       of numerous complaints from debtors, alleged

debtors, and non-debtors             across the country, similar to those alleged in this action by Plaintiff.

          39.        Defendant        is, or should be, in possession          and/or     control of call logs, account

notes, autodialer          reports    and/or    other records that detail the exact number             of calls made to

Plaintiff's aforementioned            cellular telephone number over the relevant time period.

          40.        As a direct and proximate result of Defendant's                    acts or omissions, as set forth

herein,      Plaintiff    has suffered         compensatory,    statutory     and   actual   damages    in the form    of

emotional distress, anxiety, fear, worry, embarrassment                     and mental suffering, pain, anguish,      and

loss of capacity for the enjoyment of life.

             41.     Plaintiff's statutory and actual damages in the form of emotional distress, anxiety,

fear, worly, embarrassment               and mental      suffering,   pain, anguIsh,      and loss   of capacIty fol'he
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                                                        COIJNTI
                                        VIOLATION OF THE TCPA

         43.      Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

through (42), as    if fully set forth herein.

                  None of the calls at issue were placed by Defendant to Plaintiff's aforementioned

cellular telephone     number       with the "prior express consent"               of Plaintiff, as specified          by the

TCPA, 47 U.S.C. g 227(b)(1)(A}.

         45.      Upon     answering         the    first    call    placed   by     the     Defendant      to     Plaintiff's

aforementioned      cellular telephone        number,       Plaintiff informed       Defendant    that it lacked "prior

e~p~ess consent" by instructing              the Defendant          that it was calling       the wrong      numbe~,       and

alternatively,    Plaintiff revoked      any       "prior express consent" Defendant               had, or mistakenly

believed it had, by instructing the Defendant that it was calling the wrong number.

                  Furthermore,      none of the calls at issue were placed by Defendant                      to Plaintiff's

aforementioned      cellular telephone numbers for "emergency purposes" as specified by the TCPA,

47 U.S.C. $ 227 (b)(1)(A).

                  Defendant      willfully     and/or       knowingly     violated     the    TCPA with          respect     to

P»intiff's by repeatedly placing calls to Plaintiff's respective cellular telephone numbers using

an A+DS and/or         artificial   or prerecorded          voice without      Plaintiffs'rior           express    consent,

invitation   or permission,   after being informed by P.aintiff that it was calling the wrong party, or

alternatively,   by being instructed by Plaintiff to stop calling.
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        48.       The TCPA provides Plaintiff with a priorate right of action against Defendant for

its violations of the TCPA, as described herein, pursuant to 47 U.S.C.A. g 27(b)(3), and permits

both injunctive relief in addition to statutory damages.

        WHEREFORE Plaintiff, MICHAEL MEADOWS, respectfully demand judgment against

Defendant      NANTIONAL             ENTERPRISE SYSTEMS, INC. for statutory                     damages,   actual

damages, punitive damages, an injunction from similar conduct in the future, costs, interest, and

any other such relief the court may deem just and proper.

                                                COUNTII
                                        VIOLATION OF THE FDCPA

        49.       Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs            (1)

through (42), as if fully set forth herein.

        50.       Plaintiff has been the object of collection activity by Defendant                arising from a

consumer debt.

        51.       Defendant is a "debt collector" as defined by the FDCPA.

        52.       Defendant engaged in an act or omission prohibited                under 15   U.S.C. $ 1692d by

engaging      in conduct in connection          with the collection    of a debt, the natural consequence of

which is to harass, oppress, or abuse the Plaintiff.

        53.        Defendant       engaged in an act or omission prohibited         under 15   U.S.C. $ 1692d(5)

by causing       Plaintiff's     telephone      to ring or engaging     Plaintiff   in telephone    conversation

repeatedly     or continuously        with   the intent   to annoy,    abuse, or harass    the Plaintiff   at his


aforementioned      cellular telephone numbers.

        54.        Defendant engaged in an act or omission prohibited               under 15   U.S.C. $ 1692d(6)

by calling Plaintiff's         aforementioned     cellular telephone   number   and hanging    up prior to or as

soon as Plaintiff or Plaintiff s voice mail answered the call, in such a way as to fail to provide a
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meaningful        disclosure of its identity.

           55.       Defendant engaged in an act or omission prohibited             under 15    U.S.C. $ 1692e(11)

by calling Plaintiff's       aforementioned       cellular telephone   number     and hanging    up prior to or as

soon as Plaintiff or Plaintiff's answering machine or voice mail boxes answered the call, in such

a way as to fail to disclose that the communication            was from a debt collector.

           56.       Defendant     engaged in an act or omission prohibited          under 15   U.S.C. $ 1692f by

using unfair or unconscionable           means to collect or attempt to collect a debt from Plaintiff.

           57.       Defendant's     acts and omissions as described herein have directly and proximately

resulted in Plaintiff's prior and continuing sustaining of damages as described by 15 U.S.C. 1692

including,       but not limited to: statutory     damages, actual damages in the form of emotional pain

and suffering, fear„worry, embarrassment,             humiliation   and loss   of the capacity for the enjoyme~t

of life,   and attorney fees, interest and costs.

           WHEREFORE             Plaintiff,   MICHAEL       MEADOWS,           respectfully   demands   judgment

against Defendant,        NATIONAL ENTERPRISE SYSTEMS, INC., for statutory damages, actual

damages, punitive damages, an injunction from similar conduct in the future, attorney fees, costs,

interest and such other relief as this Court deems just and proper.

                                                 COUNT III
                                          VIOLATION OF THE FCCPA

           58.       Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs          (1)
through     (42), as if fully set forth herein.

           59.       At all times material      to this action, Defendant      was and is subject to and must

abide by the law of Florida, including section 559.72, Florida Statutes.
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        60.      Defendant      engaged       in an act or omission      prohibited   under    section 559.7 (7),

Florida Statutes, by willfully       communicating      with Plaintiff or any member           of his family with

such frequency as can reasonably be expected to harass the Plaintiff.

                  Defendant     engaged       in an act or omission      prohibited   under    section 559.72(7),

F»rida Statutes, by willfully engaging            in other conduct which can reasonably           be expected to

abuse or harass the Plaintiff.

        62.       Defendant     engaged       in an act or omission      prohibited   under    section 559.72(9),

Florida Statutes, by attempting            to enforce a debt when such person knows that the debt is not

legitimate, or asserting the existence of some other legal right when such person knows that the

right does not exist.

        63.       Defendant's     actions have directly and proximately         resulted in Plaintiff's prior and

continuing    sustaining   of damages as described by section 559.77, Florida Statutes, including, but

not limited to: statutory     damages, actual damages in the form of emotional pain and suffering,

fear, worry, embarrassment,         humiliation    and loss   of   the capacity for the enjoyment       of life; and

attorney fees, interest and costs.

        WHEREFORE             Plaintiff,     MICHAEL      MEADOWS,           respectfully     demands    judgment

against Defendant, NATIONAL ENTERPRISE SYSTEMS, INC., for statutory damages, actual

damages, punitive damages, an injunction from similar conduct in the future, attorney fees, costs,

interest and such other relief as this Court deems just and proper.

                                            DEMAND FOR JURY TRIAL

        Plaintiff demands a trial by jury of all issues so triable.
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                                    Call Log for
                               (904) 71 3-7262


                                            2013-69-26 12:23:36.0




                                            2013-16-11 19:54:17.0




                       9042228582
                                            2613.-'t 6-29 15:11:46.0
                                            26'l 3-16-30 26:27:66,6




                                            2013-11 -14 '19:49:37.6
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                                    Call Log for
                               (904) 713-?262




                                            201 3-11-2823l9:57.0




                                            2

                     ..9642228582



                       9042228582
                                            2613-12-17 21:34 19.0




                       4465196733




                                            201 4-62-63 22:.18:30.6
